                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA
                                                       CASE NO. 20-MJ-1563-CBD
                   v.

 NICHOLAS MILANO WHITE,

                        Defendant


                    JOINT MOTION TO EXTEND TIME LIMIT UNDER
                    FEDERAL RULE OF CRIMINAL PROCEDURE 5.1(c)

       Come now the United States of America, by and through undersigned counsel, and the

defendant Nicholas Milano White (the “Defendant”), through undersigned counsel, and jointly

move for an Order extending the time limit under Rule 5.1(c) of the Federal Rules of Criminal

Procedure to conduct a preliminary hearing in this matter.

       1.        On June 19, 2020, the Honorable Charles B. Day, United States Magistrate Judge,

signed a Criminal Complaint charging the Defendant with Conspiracy and Theft of Mail Matter in

violation of 18 U.S.C. §§ 371 and 1708, respectively, and a warrant for the arrest of the Defendant.

       2.        The Defendant was arrested on June 24, 2020, and made his initial appearance on

June 25, 2020.

       3.        Following a detention hearing on June 24, 2020, the Honorable Beth P. Gesner,

Chief United States Magistrate Judge, ordered the detention of the Defendant pending trial.

       4.        Pursuant to Federal Rule of Criminal Procedure 5.1(c), a magistrate judge must

hold a preliminary hearing no later than 14 days after the initial appearance if the defendant is in

custody; however, a magistrate judge may extend this time limit “[w]ith the defendant’s consent

and upon a showing of good cause[.]” Fed. R. Crim. P. 5.1(d).

       5.        Due to limitations in the availability of counsel for the parties and the Court, a

preliminary hearing in this matter cannot be scheduled on or before July 9, 2020. The parties have
agreed to conduct the hearing one day later, on July 10, 2020, and have confirmed the Court’s

availability on that date.

        6.       The parties agree that the aforementioned facts establish “good cause” for

postponement of the preliminary hearing, “taking into account the public interest in the prompt

disposition of criminal cases[.]” Fed. R. Crim. P. 5.1(d).

        Wherefore, the parties respectfully request that the Court enter an Order extending the time

for holding a preliminary hearing under Fed. R. Crim. P. 5.1(c) to July 10, 2020, and that the Court

further order that this extension of time is justified by the Defendant’s consent and by a showing

of good cause.


                                              Respectfully Submitted,

        Robert K. Hur                                                Counsel for the Defendant
        United States Attorney

        By:            /s/                                                  /s/
        Matthew J. Maddox                                            Robert C. Bonsib, Esq.
        Assistant United States Attorney
